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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
SIDI MOHAMED ABDERRAHAME DAHY, )
Plaintiff,
v. No. 1:17-cv-1040 (LMB/MSN)
RENTGROW, INC., 5
Defendant.

ORDER

For the reasons stated in open court, defendant’s Motion for Summary Judgment [Dkt. No.
57] is GRANTED, and plaintiff's Omnibus Motion in Limine [Dkt. No. 61] and defendant’s
Motion for Reconsideration [Dkt. No. 89] are DENIED AS MOOT; and it is hereby

ORDERED that judgment be and is entered in favor of defendant.

The Clerk is directed to enter judgment in defendant’s favor pursuant to Fed. R. Civ. P. 58
and to forward copies of this Order to counsel of record.

Entered this 8 Gay of June, 2018.

Alexandria, Virginia

DE

Leonie M. Brinkema ne
United States District Judge be

 
